              Case 2:19-cv-01976-AKK Document 9 Filed 02/05/20 Page 1 of 1                         FILED
                                                                                          2020 Feb-05 PM 04:08
                            UNITED STATES DISTRICT COURT                                  U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA
                                Northern District of Alabama
                                     Office of the Clerk
                              Room 140, 1729 5th Avenue North
                                Birmingham, Alabama 35203
                                      (205) 278-1700

Sharon N. Harris                                                                      Joe Musso
Clerk                                                                               Chief Deputy


Crystal Pettway,                              }
                                              }
                       Plaintiff              }
                           v.                 }   Case Number:    2:19-cv-cv-1976-AKK
                                              }
Advanced Capital Solutions,                   }
                                              }
                       Defendants             }
                                              }
                                              }
                                              }

                                   NOTICE OF REASSIGNMENT


          The parties having not unanimously consented to the dispositive jurisdiction by a

Magistrate Judge, the above styled civil action has been randomly reassigned to the Honorable

Abdul K. Kallon. Please use case number 2:19-cv-1976-AKK on all subsequent pleadings.


DATED: February 5, 2020

                                                  SHARON N. HARRIS, CLERK



                                                  By:____Maire Read____________
                                                        Deputy Clerk
